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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


MARIO PILLCO MOROCHO, et al.,
     Plaintiffs

v.                                                                    Civil Action No:
                                                                      1:22-10652-WGY

BRISTOL COUNTY SHERIFFF'S OFFICE, et al.,
     Defendants


    DEFENDANTS BRISTOL COUNTY SHERIFF'S OFFICE, SHERIFF THOMAS
 HODGSON AND SUPERINTENDENT STEVEN SOUZA, in their official and individual
  capacities, IN SUPPORT OF THEIR MOTION TO DISMISS PURSUANT TO FED. R.
                               CIV. P.R. 12 (b)(6)

       Now come the Bristol County Sheriffs Office, Sheriff Thomas Hodgson and

Superintendent Steven Souza, in their official and individual capacities, pursuant to Fed. R. Civ.

P.R. 12(b)(6) and Moves this Honorable Court to dismiss Counts 1, 2, 16(the first), 16 (the

second) and 17 of the Complaint against them and states as reasons that the Complaint fails to

state claims for which relief can be granted and further set forth their reasons in the

accompanying memorandum.

                                                      Respectfully submitted,
                                                      Defendants Bristol County Sheriffs Office,
                                                      Sheriff Thomas Hodgson and
                                                      Superintendent Steven Souza

                                                      By their attorney,



                                                        /s/ Bruce A. Assad
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


MARIO PILLCO MOROCHO, et al.,
Plaintiffs
                                                            Civil Action No:
V.                                                          1:22-10652-WGY


BRISTOL COUNTY SHERIFF'S OFFICE, et al.,
Defendants.


   MEMORANDUM OF DEFENDANTS BRISTOL COUNTY SHERIFF'S OFFICE,
 SHERIFF THOMAS HODGSON AND SUPERINTENDENT STEVEN SOUZA, in their
  official and individual capacities, IN SUPPORT OF THEIR MOTION TO DISMISS


INTRODUCTION
        The 83 page Complaint in the instant action was brought by sixteen Plaintiffs, who in the

year 2020 were immigration detainees held by the Defendant United States Department of

Homeland Security (DHS) and housed at the Defendant Bristol County Sheriffs Office by

contractual arrangement between the federal government and the sheriffs office. Within the

Complaint, the Plaintiffs allege violations of 42 U.S.C. § 1983 against Defendant Sheriff Hodgson,

Defendant Superintendent Steven Souza and Defendant Todd Lyons, Boston Field Director of the

United States Immigration and Customs Enforcement (ICE), in both their official and individual

capacities, asserting   a failure to insure their protection from contracting COVID- 19.

Additionally, the Plaintiffs claims that the Defendant Bristol County Sheriffs Office violated the

Plaintiffs' rights under the Americans with Disabilities Act and the Rehabilitation Act.




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        The present motion seeks to dismiss the claims against Defendants Hodgson, Souza, in

both their individual and their official capacities based on the fact that the action is barred by the

11th Amendment, Qualified Immunity and also by the Doctrine of Issue Preclusion. Additionally,

the Bristol County Sheriffs Office seeks dismissal of the action seeking relief under the Americans

with Disabilities Act and the Rehabilitation Act based on a settlement and release approved by this

Court in the case of Savino v. Souza, docket 1:20-cv-10617 WGY. (Attached as Exhibit A)


        Background


         On March 27, 2020, a class action suit was filed against Sheriff Hodgson, Superintendent

Steven Souza, Todd Lyons and several other officials of the DHS and ICE. Savino v. Souza. docket

1:20-cv-10617 WGY. The Plaintiffs in that class action encompassed all of the ICE detainees

housed at the Bristol County Sheriffs Office and included all of the Plaintiffs of the instant case.

That suit alleged that the Defendants had violated the Plaintiffs' rights under 42 U.S.C. § 1983 and

the Rehabilitation Act based on an alleged failure of the Defendants to protect them from

contracting COVID-19 while in detention. Savino complaint pages 21-24. In that action, all

defendants were represented by the United States Attorney. 1


        After long and involved settlement negotiations, and with the assistance of a Magistrate-

Judge, the parties crafted a lengthy Settlement Agreement and Release. That agreement, approved

by the Court, resolved all matters that were or could have been fairly raised in the action. It is

clear that the instant case, inter-alia, appears to be an attempt to re-litigate issues of potential

exposure to COVID-19 that were settled long ago by the parties.




1
  The United States and several federal agencies were made defendants in the instant action but there is no indication
that they have been served.

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       One of the remedies sought by the class action plaintiffs in the Savino case was inter-alia

the release of all ICE detainees from ICE custody due to the threat of exposure to COVID-19. ICE

and DHS, who was in total control of custody decisions, opposed most these releases mostly

because of the dangerousness and criminal histories of certain detainees. Ultimately, the federal

court weighed factors such as the dangerousness and existing health conditions of individual

detainees and began to order the release of those detainees the court deemed suitable to be released

under conditions of supervision. Other ICE detainees were denied supervised release by the court.


       On May 1, 2020, a group of approximately 10 detainees, out of the 25 detainees remaining

in the dormitory housing unit, in unison, complained to the prison's contracted health provider that

they were experiencing at least two specific "symptoms of COVID-19."                As per BCSO,

Department of Health and CDC policies at that time, detainees in congregate housing

arrangements, were required to be tested for COVID-19 and kept in quarantine isolation for 14

days, or until they tested negative for COVID-19, to avoid the possibility of infecting others in the

housing area. Once told that they would have to be tested and removed to isolation, the detainees

who had complained of symptoms refused to be removed for testing and isolation.


       Because the presence of 10 detainees potentially infected with COVID-19 posed an

immediate health threat to all the detainees and staff working in the housing unit, Sheriff Hodgson

and a group of correction officers went to the housing unit to attempt to convince the 10 detainees

of the necessity of being tested for COVID-19 and the required isolation procedures. At first,

Sheriff Hodgson spoke to the detainees and told them that in order to protect themselves and the

others, COVID-19 protocols required all detainees or prisoners who reported COVID-19

symptoms to be tested




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at the BCSO Health Center and then be isolated until either they tested negative or remained in

isolation for 14 days.


        After he :finished his explanation, the names of those who had reported symptoms were

called, one by one, to be transported to the BCSO Health Center for testing. The detainees then

refused to be transported to the Health Center. One detainee, after his name was called, went over

to the phone and began to make a phone call. The Sheriff then walked over to the detainee, told

to put down the phone and report for transport. The detainee refused and then along with several

other detainees threatened the Sheriff causing several correction officers to intervene. At that point

a riot enveloped the entire housing unit which resulted in the detainees completely destroying the

housing unit causing approximately $25,000 worth of damages. Correction officers from the

Special Response Team were then called and using pepper spray quelled the riot in approximately

90 seconds. In addition to the Plaintiffs' complaints regarding vulnerability to COVID-19 while

detained, they also allege that excessive force was used by the Sheriff and un-named correction

officers to quell the riot.


        ARGUMENT


        A. The Eleventh Amendment bars any claims against Hodgson and Souza in their
official capacities.
        It is well settled that Congress did not intend to waive states' Eleventh Amendment

sovereign immunity protection from suit in federal court by enacting 42 U.S.C. § 1983. Will v.

Michigan Dept of State Police, 491 U.S. 58, 66, (1989). Moreover, it is undisputed that the

Commonwealth of Massachusetts has not consented to suit under§ 1983. Woodbridge v.

Worcester State Hosp., 384 Mass. 38, 44-45, 423 N.E.2d 782 (1981). Neither states, state agencies,

or state employees in their official capacities are "persons" within the meaning of§ 1983. Will,



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supra at 66-67, 70-71. Therefor Count 1, alleging a violation of§ 1983 against BCSO and against

Hodgson and Souza in their official capacities, should be dismissed.


B. Sheriff Hodgson and Superintendent Souza are entitled to Qualified Immunity in both
their official and individual capacities as to any Civil Rights claims


       The purpose of the Qualified Immunity doctrine is that "public officials performing

discretionary functions should be free to act without fear of retributive suits for damages except

when they should have understood that particular conduct was unlawful." Limone v. Condon, 372

F.3d 39, 44 (1st Cir.2004). Thus, the Supreme Court has held that qualified immunity "is an

immunity from suit rather than a mere defense to liability" and should be determined at an early

date in the litigation as "it is effectively lost if a case is erroneously permitted to go to trial."

Mitchell v. Forsyth, 472 U.S. 511, 526, (1985).


       In determining whether officials are entitled to qualified immunity a three-part test is

employed by the courts. See Rivera-Jimenez v. Pierluisi, 362 F.3d 87, 93 (1st Cir.2004). First, the

court must assess whether: " 'Taken in the light most favorable to the party asserting the injury,

do the facts alleged show the officer's conduct violated a constitutional right?' " Riverdale Mills

Corp. v. Pimpare, 392 F.3d 55, 61 (1st Cir.2004) (quoting Saucier v. Katz, 533 U.S. 194, 201

(2001)). The second prong of the test is:" 'whether the right was clearly established at the time of

the alleged violation' such that a reasonable officer would 'be on notice that the conduct was

unlawful.' "Id (quoting Suboh v. Dist. Attorney's Office, 298 F.3d 81, 90 (1st Cir.2002)). Lastly,

the court must determine: "whether a 'reasonable officer, similarly situated, would understand that

the challenged conduct violated' the clearly established right at issue." Id (quoting Suboh, 298

F.3d at 90).




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          In the instant case, with regard to the actions of Hodgson and Souza regarding civil rights

violations arising out of potential exposure to COVID-19, the Plaintiffs cannot defeat the defense

of qualified immunity.        It is undisputed that the pandemic of COVID-19 presented an

unprecedented challenge to all segments of society and especially those entities which had to deal

with persons living in congregate care environments such as nursing homes and prisons.

Especially during the early days of the outbreak, guidance from public health agencies and medical

providers were often at variance and, at time contradictory. For example, at the beginning of the

pandemic, the Massachusetts Department of Public Health had less strict recommendations for

quarantine for first responders than for workers in other businesses. In retrospect, after three plus

years ofCOVID-19, guidelines have frequently changed and were not even consistent between the

states.


          It is further unquestioned that the BCSO and its staff took significant measures to prevent

the outbreak of COVID-19 in the facility. Clearly, it is impossible for the Plaintiffs to show that

either Hodgson or Souza "would be on notice that their conduct was unlawful" or that "a

'reasonable officer, similarly situated, would understand that the challenged conduct violated' the

clearly established right at issue." Suboh, supra at 90. Moreover, there is no good faith allegation

that any of the Plaintiffs suffered any harm due to any alleged failure to properly protect the

detainees from contracting COVID-19. Accordingly, Defendants Hodgson and Souza are entitled

to qualified immunity as to Counts 1 and 2 of the Complaint.




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                                                            2
           The "first" Count 16 of the Complaint                Plaintiff Battistotti, one of the detainees who

reported COVID-19 symptoms, complains that Sheriff Hodgson "used excessive force" against

him. After the Sheriff ordered him to put down the phone and go with the officers to be taken to


the Health Center to be tested for COVID-19, Battistotti refused to put down the phone and

comply. The Sheriff attempted to take the phone from him which is when Battistotti resisted and,

together with other detainees who joined with him, initiated the riot at the ICE Detention Center.

Battistotti allegations differ within the complaint as to what he actually alleges that the Sheriff did.

In paragraph 539 of the Complaint he alleges that Hodgson handcuffed (zip-tied) him where in

paragraph 293 of the Complaint he alleges that "Officer Doe" zip-tied his hands. Notwithstanding

the discrepancy, it is clear that the incident arose where Battistotti refused to comply with a lawful,

reasonable order of the Sheriff to allow himself to be tested for COVID-19. Had Battistotti

complied with the order there would have been no further ado. Battistotti however, chose to first

verbally and then physically resist a lawful order to submit to COVID-19 testing. Again, under

the well-established standards of qualified immunity, it is inconceivable that Sheriff Hodgson

would be on notice that his conduct in making Battistotti put down the phone when the detainee

refused to do so and be tested, was unlawful in any way or that the Sheriff or any officer, similarly

situated, would understand that the challenged conduct violated' the clearly established right at

issue. Suboh, supra at 90. Prison officials have not only the right but also the obligation to use

reasonable force to compel prisoners to comply with lawful orders. Taking a phone away from a

misbehaving detainee cannot, as a matter of law, be deemed "unconstitutional conduct." As such

Sheriff Hodgson is entitled to Qualified Immunity on the "first" count 16 of the Complaint.




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    There are apparently two count 16s. The second one alleges a violation of the Rehabilitation Act.

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      C. The Claims against the Bristol County Sheriff's Office under the ADA and
Rehabilitation Act are barred based on the Settlement and Release Agreement approved by
the Court.
       Count 16 of the Complaint asserts a violation of the Rehabilitation Act against inter-alia

the Bristol County Sheriffs Office and Count 17 asserts a violation of the ADA against the same

defendants. The First Circuit has concluded that claims brought under the Rehabilitation Act and

the ADA are identical and are subject to the same judicial analysis. Calero-Cerezo v. US. Dept.

o(Justice, 355 F.3d 6, 19 (1st Cir.2004); accord, Smith v. The Public Schools o(Northborough-

Southborough Massachusetts, 133 F.Supp.3d 289,295 (D. Mass 2015)

       In the Settlement Release Agreement approved by the court in the Savino case, the

Plaintiffs "release and discharge" the Defendants from the Rehabilitation Act claims alleged in the

Complaint. See Settlement Agreement Savino v. Souza, docket 1:20-cv-10617 WGY, page 12.

(Exhibit A) As the claims brought by the Plaintiffs in the Savino case concern identical allegations

related to potential COVID-19 exposure while they were detained, those claims were fully

released. Accordingly, Counts 16 and 17 of the Complaint against the Bristol County Sheriff's

Office should be dismissed.


      D. Notwithstanding the Settlement Agreement and the prohibition of the Eleventh
Amendment, the action against the Bristol County Sheriff's Office and Defendants Hodgson
and Souza in their official capacities are barred by the Doctrine of Issue Preclusion.
                  The First Circuit has made it clear that under federal law settlements may have

preclusive effect if there is court approval of the settlement or there is entry of judgment with

prejudice. See,    United States v. Cunan, 156 F.3d 110, 114 (1st Cir.1998) ("[A] voluntary

dismissal with prejudice is ordinarily deemed a final judgment that satisfies the res

judicata criterion."); Langton v. Hogan, 71 F.3d 930,935 (1st Cir.1995) ("When a dispute oflaw




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exists between parties to a case and they agree to a settlement of that dispute and entry of a


judgment with prejudice based on that settlement, then the terms of that judgment in relation to

that legal issue are subject to res judicata principles. A judgment that is entered with prejudice

under the terms of a settlement, whether by stipulated dismissal, a consent judgment, or a

confession of judgment, is not subject to collateral attack by a party or a person in privity, and it

bars a second suit on the same claim or cause of action."); In re Medomak Canning, 922 F.2d 895,

900 (1st Cir.1990) ("Generally, a court-approved settlement receives the same res judicata effect

as a litigated judgment.. .. ").


        The U.S. Supreme Court has determined that under the principles of res ;udicata, , a final

judgment on the merits of an action precludes the parties or their privies from re·-.litigating issues

tbat were or could have been raised in that action." Allen v. McCurry, 449 U.S. 90, 94 (1980).

Accordingly, the settlement of a dispute when that settlement agreement is approved by a court is

considered to have the same legal significance as a judgment on the merits and therefore res-

judicata.


        Here, in the Savino case, all causes of action concerning claims arising out of potential

exposure to COVID-19 while detained clearly "were or could have been raised" in that case.

Accordingly, Counts 1, 16 and 17 should be dismissed as res-judicata and barred from re-litigation.




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Conclusion


       For the above reasons, Counts 1, 2 16(the first), 16(the second) and 17 should be dismissed.


                                                     Respectfully submitted,
                                                     Defendants Bristol County Sheriffs Office
                                                     Sheriff Thomas Hodgson and
                                                     Superintendent Steven Souza
                                                     By their attorney,


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                                    CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).
Dated: August 24, 2022
                                                             Isl Bruce A. Assad
                                                             Bruce A. Assad, Esq.




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